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                      EXHIBIT A

               Bidding Procedures Order
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )    Chapter 11
                                                                     )
    YELLOW CORPORATION, et al., 1                                    )    Case No. 23-11069 (___)
                                                                     )
                             Debtors.                                )    (Jointly Administered)
                                                                     )
                                                                     )    Re: Docket No. __

          ORDER (I)(A) APPROVING BIDDING PROCEDURES FOR THE
         SALE OR SALES OF THE DEBTORS’ ASSETS; (B) SCHEDULING
      AN AUCTION AND APPROVING THE FORM AND MANNER OF NOTICE
   THEREOF; (C) APPROVING ASSUMPTION AND ASSIGNMENT PROCEDURES,
(D) SCHEDULING A SALE HEARING AND APPROVING THE FORM AND MANNER
OF NOTICE THEREOF; (II)(A) APPROVING THE SALE OF THE DEBTORS’ ASSETS
    FREE AND CLEAR OF LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES
  AND (B) APPROVING THE ASSUMPTION AND ASSIGNMENT OF EXECUTORY
CONTRACTS AND UNEXPIRED LEASES; AND (III) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”) 2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), (a) authorizing and approving the

Bidding Procedures attached hereto as Exhibit 1, (b) approving Bid Protections, (c) establishing

certain related dates and deadlines, (d) approving the form and manner of notice of the Auction

attached hereto as Exhibit 2 (the “Auction Notice”), (e) approving the Assumption/Assignment

Procedures, including the notices of potential assumption and proposed cure amounts attached

hereto as Exhibit 3 (the “Cure Notice”), (f) approving the form and manner of notice of the

Winning Bidder attached hereto as Exhibit 4 (the “Notice of Winning Bidder”), and (g) granting

related relief, all as more fully set forth in the Motion; and upon the First Day Declaration; and


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
      Suite 400, Overland Park, Kansas 66211.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion or
      the Bidding Procedures, as applicable.
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upon the Kaldenberg Declaration; and this Court having jurisdiction over this matter pursuant to

28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware, dated February 29, 2012; and this Court having found

that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that

this Court may enter a final order consistent with Article III of the United States Constitution; and

this Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in

the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in

interest; and this Court having found that the Debtors’ notice of the Motion and opportunity for a

hearing on the Motion were appropriate and no other notice need be provided; and this Court

having reviewed the Motion and having heard the statements in support of the relief requested

therein at a hearing before this Court (the “Hearing”); and this Court having determined that the

legal and factual bases set forth in the Motion and at the Hearing establish just cause for the relief

granted herein; and upon all of the proceedings had before this Court; and after due deliberation
                                                                                            3
and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.        Jurisdiction and Venue. The Court has jurisdiction over this matter pursuant to 28

U.S.C. §§ 157 and 1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue

is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.B.

        2.        Statutory and Legal Predicates. The statutory and legal predicates for the relief

requested in the Motion are sections 105(a), 363, 365, 503, and 507 of the Bankruptcy Code,




3   The findings and conclusions set forth herein constitute the Court’s findings of fact and conclusions of law pursuant
    to Bankruptcy Rule 7052, made applicable to this proceeding pursuant to Bankruptcy Rule 9014. To the extent
    any of the following findings of fact constitute conclusions of law, they are adopted as such. To the extent any
    of the following conclusions of law constitute findings of fact, they are adopted as such.


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Bankruptcy Rules 2002, 6004, 6006, 9007, 9008, and 9014 and Local Rules 2002-1, 6004-1, and

9006-1.C.

          3.    Sale Process. The Debtors and their advisors engaged pre-petition with a number

of potential interested parties to solicit and develop the highest and otherwise best offers for the

Assets.

          4.    Bidding Procedures. The Debtors have articulated good and sufficient business

reasons for the Court to approve the bidding procedures attached hereto as Exhibit 1 (the

“Bidding Procedures”).      The Bidding Procedures are fair, reasonable and appropriate and are

designed to maximize the value of the proceeds of one or more sales (each, a “Sale Transaction”)

of all or substantially all of the Debtors’ assets (the “Assets”).   The Bidding Procedures were

negotiated in good faith and at arm’s-length and are reasonably designed to promote a competitive

and robust bidding process to generate the greatest level of interest in the Debtors’ Assets. The

Bidding Procedures comply with the requirements of Local Rule 6004-1(c).

          5.    Stalking Horse Bidder. To the extent the Debtors select a Stalking Horse Bidder

(as defined below), any Bid Protections (as defined in the Bidding Procedures) to the extent

payable under the Stalking Horse Agreement (as defined below) shall be deemed an actual and

necessary cost of preserving the Debtors’ estates within the meaning of sections 503(b) and

507(a)(2) of the Bankruptcy Code and treated as an allowed administrative expense claim against

the Debtors’ estates pursuant to sections 503(b) and 507(a)(2) of the Bankruptcy Code.

          6.    Auction Notice. The Auction Notice, substantially in the form attached hereto as

Exhibit 2, is reasonably calculated to provide interested parties with timely and proper notice of

the proposed Sale(s), including, without limitation: (a) the date, time, and place of the Auction (if

any); (b) the Bidding Procedures; (c) reasonably specific identification of the Assets to be sold;




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and (d) a description of the Sale(s) as being free and clear of liens, claims, encumbrances, and

other interests (except as set forth in the applicable definitive Sale documentation), with all such

liens, claims, encumbrances, and other interests attaching with the same validity and priority to

the Sale proceeds, and no other or further notice of the Sale(s) shall be required.

       7.      Assumption and Assignment Provisions. The Debtors have articulated good and

sufficient business reasons for the Court to approve the assumption and assignment procedures set

forth herein (the “Assumption and Assignment Procedures”), which are fair, reasonable, and

appropriate. The Assumption and Assignment Procedures comply with the provisions of section

365 of the Bankruptcy Code and Bankruptcy Rule 6006.

       8.      Notice of Winning Bidder. The Notice of Winning Bidder, substantially in the form

attached hereto as Exhibit 3, is reasonably calculated to provide interested parties with timely and

proper notice of the proposed Sale(s), including, without limitation: (a) the Winning Bidder, (b)

the Back-Up Bidder, if applicable, (c) the proposed Bid Protections provided to the Winning

Bidder, (d) the key terms of the proposed Sale, and (e) the date, time, and place of the Sale Hearing.

       9.      Cure Notice. The Cure Notice, the form of which is attached hereto as Exhibit 4,

is appropriate and reasonably calculated to provide all interested parties with timely and proper

notice of the Assumption and Assignment Procedures, as well as any and all objection deadlines

related thereto, and no other or further notice shall be required for the Motion and the procedures

described therein, except as expressly required herein.

       10.     Stalking Horse Notice. The Debtors shall file a Stalking Horse Notice that is

reasonably calculated to provide interested parties with timely and proper notice of the designation

of the Stalking Horse, including, without limitation: (a) the Winning Bidder, (b) the Back-Up




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Bidder, if applicable, (c) the proposed Bid Protections provided to the Winning Bidder, (d) the key

terms of the proposed Sale, and (e) the date, time, and place of the Sale Hearing.

        11.     Notice.   Notice of the Motion, the proposed Bidding Procedures, and the

Bidding Procedures Hearing was (i) appropriate and reasonably calculated to provide all interested

parties with timely and proper notice, (ii) in compliance with all applicable requirements of the

Bankruptcy Code, the Bankruptcy Rules and the Local Rules and (iii) adequate and sufficient under

the circumstances of the Debtors’ Chapter 11 Cases, such that no other or further notice need be

provided except as set forth in the Bidding Procedures and the Assumption and Assignment

Procedures. A reasonable opportunity to object and be heard regarding the relief granted herein

has been afforded to all parties in interest.

NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

        12.     The Motion is GRANTED as set forth herein.

        13.     All objections to the relief granted in this order (the “Order”) that have not been

withdrawn, waived or settled, and all reservations of rights included therein, are hereby overruled

and denied on the merits with prejudice.

A.      The Bidding Procedures

        14.     The Bidding Procedures attached hereto as Exhibit 1 are hereby approved, are

incorporated herein by reference, and shall govern the bids and proceedings related to the sale(s)

of the Assets and the Auctions.        The procedures and requirements set forth in the Bidding

Procedures, including those associated with submitting a “Qualified Bid,” are fair, reasonable and

appropriate, and are designed to maximize recoveries for the benefit of the Debtors’ estates,

creditors, and other parties in interests. The Debtors are authorized to take all actions necessary

or appropriate to implement the Bidding Procedures.




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        15.     The failure to specifically include or reference any particular provision of the

Bidding Procedures in the Motion or this Order shall not diminish or otherwise impair the

effectiveness of such procedures, it being the Court’s intent that the Bidding Procedures are

approved in their entirety, as if fully set forth in this Order.

        16.     Subject to this Order and the Bidding Procedures, the Debtors, in the exercise of

their reasonable business judgment and in a manner consistent with their fiduciary duties and

applicable law, shall have the right to (a) determine which Qualified Bid is the highest or otherwise

best offer, (b) reject any Bid that the Debtors determine is (i) inadequate or insufficient, (ii) not in

conformity with the requirements of the Bankruptcy Code or the Bidding Procedures, or

(iii) contrary to the best interests of the Debtors’ estates and their creditors, and (c) impose such

other terms and conditions upon Qualified Bidders as the Debtors determine to be in the best

interests of the Debtors’ estates in these chapter 11 cases.

        17.     The Debtors shall have the right to, in their reasonable business judgment and with

the consent of the Consultation Parties, and in a manner consistent with their fiduciary duties and

applicable law, modify the Bidding Procedures, including to, among other things, (a) extend or

waive deadlines or other terms and conditions set forth therein, (b) adopt new rules and procedures

for conducting the bidding and Auction process, (c) if applicable, provide reasonable

accommodations to a Stalking Horse Bidder, or (d) otherwise modify the Bidding Procedures to

further promote competitive bidding for and maximizing the value of the Assets; provided, that

such extensions, waivers, new rules and procedures, accommodations and modifications (i) do not

conflict with and are not inconsistent with this Order, the Bidding Procedures, the DIP Orders, the

Bankruptcy Code or any order of the Bankruptcy Court, (ii) are promptly communicated to each




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Qualified Bidder and (iii) are in form and substance acceptable to the DIP Lenders (as defined in

the Bidding Procedures).

       18.     If the Debtors, in consultation with the Consultation Parties, determine not to

conduct an Auction, then the Debtors shall file a notice with the Court of such determination within

one business day of the making of such determination by the Debtors.

B.     The Stalking Horse Bid and Bid Protections.

       19.     Following entry of this Order, the Debtors shall be authorized, but not obligated, in

an exercise of their reasonable business judgment and with the consent of the Consultation Parties,

(a) to select one or more Qualified Bidders to act as stalking horse bidders in connection with a

Sale Transaction (each, a “Stalking Horse Bidder”) and enter into a purchase agreement with

respect to such Sale Transaction with such Stalking Horse Bidder (each such agreement,

a “Stalking Horse Agreement”); and (b) in connection with any Stalking Horse Agreement with a

Stalking Horse Bidder, to agree to the Bid Protections; provided that the aggregate of the Cash

Breakup Fee and the total Expense Reimbursements shall in no event exceed three percent (3%)

of the applicable Purchase Price. No later than three business days after entry into a Stalking Horse

Agreement, or as soon as reasonably practicable thereafter, the Debtors shall file a notice with the

Court to provide interested parties notice of the Debtors’ entry into a Stalking Horse Agreement.

       20.     Except for a Stalking Horse Bidder to the extent of the Bid Protections, no person

or entity shall be entitled to any expense reimbursement, break-up fees, “topping,” termination, or

other similar fee or payment in connection with any Bid; and by submitting a Bid, such person or

entity is deemed to have waived their right to request or to file with the Court any request for

allowance or payment of any such expense reimbursement or fee, whether by virtue of

section 503(b) of the Bankruptcy Code or otherwise.




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       21.     Any deposit provided by a Stalking Horse Bidder or other Qualified Bidder shall

be held in escrow by the Debtors or their agent and shall not become property of the Debtors’

bankruptcy estates unless and until released from escrow to the Debtors pursuant to the terms of

the Bidding Procedures, the applicable escrow agreement, or order of the Court.

C.     Important Dates and Deadlines.

       22.     The following dates and deadlines are hereby approved:

               Date and Time
                                                                Event or Deadline
        (all times in Eastern Time)
 August 18, 2023                             Deadline for Indications of Interest
 September 30, 2023                          Deadline to execute a Stalking Horse Agreement
 October 15, 2023                            Bid Deadline
 October 18, 2023                            Auction (if required)
 October 20, 2023                            Notice of Winning Bidder
 October 23, 2023                            Sale Objection Deadline for General Bids

 October 26, 2023                            Sale Hearing as to Winning Bid(s) (or Back-Up Bid(s),
                                             as applicable)


       23.     The deadline by which Indications of Interest must be received is 5:00 p.m.

(prevailing Eastern Time) on August 24, 2023 (the “IOI Deadline”).          The deadline by which

Bids must be actually received by the Debtors and their advisors is 5:00 p.m. (prevailing Eastern

Time) on October 15, 2023 (the “Bid Deadline”).

       24.     Each bidder participating at the Auction, if any, shall be required to confirm that it

has not engaged in any collusion with respect to the bidding or the Sale Transaction, as set forth in

the Bidding Procedures; and the Auction, if any, shall be transcribed or videotaped.

       25.     If an Auction is held, such Auction shall be held on October 18, at [●] (prevailing

Eastern Time). Any Auction held will be conducted via remote video or in-person at the Debtors’



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election. The Debtors shall provide Qualified Bidders with notice of the date, time, and place of

the Auction no later than two business days before such Auction; provided that such notice will be

provided to Qualified Bidders no later than five business days before such Auction in the event the

Auction (a) takes place outside of New York City, New York, or (b) is not conducted via remote

video. As set forth more fully in the Bidding Procedures, only Qualified Bidders shall be entitled

to bid at the Auction.

        26.     Objections to the proposed Sale Order by any Winning Bid(s) (or Back-Up Bid(s),

as applicable) must be made on or before October 23, 2023 at 5:00 p.m. (prevailing Eastern

Time) (the, “Sale Objection Deadline”). All objections must: (a) be in writing; (b) conform to the

applicable provisions of the Bankruptcy Rules and the Bankruptcy Local Rules; (c) state with

particularity the legal and factual basis for the objection and the specific grounds therefor; and

(d) be filed with the Court and served so as to be actually received no later than the Sale Objection

Deadline by the following parties (the “Notice Parties”):

         Proposed Co-Counsel to the Debtors                     Proposed Co-Counsel to the Debtors

                Kirkland & Ellis LLP                              Pachulski Stang Ziehl & Jones LLP
                 601 Lexington Ave                         919 North Market Street, 17th Floor, PO Box 8705
             New York, New York 10022                                Wilmington, Delaware 19801
    Allyson B. Smith (allyson.smith@kirkland.com)              Laura Davis Jones (ljones@pszjlaw.com)
                                                               Timothy P. Cairns (tcairns@pszjlaw.com)
                  Kirkland & Ellis LLP                          Peter J. Keane (pkeane@pszjlaw.com)
                    300 North LaSalle                           Edward Corma (ecorma@pszjlaw.com)
                 Chicago, Illinois 60654
  Patrick J. Nash Jr., P.C. (patrick.nash@kirkland.com)
  David Seligman P.C. (david.seligman@kirkland.com)
          Steve Toth (steve.toth@kirkland.com)
  Whitney Fogelberg (whitney.fogelberg@kirkland.com)

     Proposed Investment Banker to the Debtors              Office of the United States Trustee (Region 7)

                Ducera Partners LLC                                       The U.S. Trustee
             11 Tmes Square, 36th Floor                        844 King Street, Suite 2207, Lockbox 35,
            New York, New York 10036                                 Wilmington, Delaware 19801
  Cody Kaldenberg (ckaldenberg@ducerapartners.com)              Jane Leamy (jane.m.leamy@usdoj.gov)
    Jon Cremeans (jcremeans@ducerapartners.com)




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       27.     If any party fails to timely file with the Court and serve an objection by the Sale

Objection Deadline or otherwise abide by the procedures set forth in the Bidding Procedures

regarding an objection to the Sale Transaction(s), such party shall be barred from asserting, at the

Sale Hearing or otherwise, any objection to the relief requested in the Motion or to the

consummation and performance of the Sale Transaction(s), including the transfer of the Assets to

the Winning Bidder, free and clear of all liens, claims, interests, and encumbrances pursuant to

section 363(f) of the Bankruptcy Code, and shall be deemed to “consent” for the purposes of

section 363(f) of the Bankruptcy Code.

       28.     The Court will hold a hearing to consider approval of the Sale Transaction(s)

contemplated by each Winning Bid (or Back-Up Bid(s)). With respect to any Winning Bid(s) (or

Back-Up Bid(s)), the Sale Hearing will be held on October 26, 2023 at [_]:[_] [a./p.]m.

(the “Sale Hearing”). The Sale Hearing may be adjourned by announcement in open Court or on

the Court’s calendar without any further notice required.

E.     Credit Bidding

       29.     Any bidder holding a perfected security interest in any of the Assets may seek to

credit bid all, or a portion of, such bidder’s claims for its respective collateral in accordance with

section 363(k) of the Bankruptcy Code (each such bid, a “Credit Bid”); provided, that such Credit

Bid complies with the terms of the Bidding Procedures.

G.     Notice of Sale Transaction

       30.     The Auction Notice, substantially in the form attached to this Order as Exhibit 2,

is approved. Within three business days of the entry of this Order or as soon thereafter as

reasonably practicable, the Debtors shall cause the Auction Notice to be served upon




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parties in interest     and     posted     on     the    Debtors’     restructuring    webpage       at

https://dm.epiq11.com/YellowCorporation (or such other applicable URL) (the “Case Webpage”).

          31.     Within three business days after entry of this Order, or as soon as reasonably

practicable thereafter, the Debtors shall place a publication version of the Auction Notice for one

day in The New York Times (national edition) and post it onto the Case Webpage. Such notice shall

be deemed sufficient and proper notice of the Sale(s) with respect to known interested parties.

          32.     Within two business days after the conclusion of the Auction (if any), or as soon as

reasonably practicable thereafter, the Debtors will file on the docket the Notice of Winning Bidder

substantially in the form attached to this Order as Exhibit 4.

          33.     Within three business days three business days of the Stalking Horse Deadline or

as soon as reasonably practicable thereafter, the Debtors will file on the docket the Stalking Horse

Notice.

H.        Assumption and Assignment Procedures.

          34.     The Assumption/Assignment Procedures below are hereby approved and shall be

the procedures by which the Debtors will notify counterparties (the “Contract Counterparties”) to

executory contracts and unexpired leases with the Debtors (the “Contracts”) of proposed cure

amounts in the event the Debtors determine to assume and assign such Contracts in connection

with a Sale Transaction. Nothing in this Order shall be deemed to limit the Debtors’ ability to

negotiate partial assumption and/or assumption and assignment of Contracts with Contract

Counterparties on a consensual basis.

          a.      Cure Notice. No later than fourteen days prior to the Cure Objection Deadline, the
                  Debtors shall file with the Court and serve via first class mail, electronic mail, or
                  overnight delivery, the Cure Notices, attached hereto as Exhibit 3, on the Contract
                  Counterparties, and post the Cure Notice to the case website
                  https://dm.epiq11.com/YellowCorporation.




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b.     Content of Cure Notice. The Cure Notice shall notify the applicable Contract
       Counterparties that the Contracts may be subject to assumption and assignment in
       connection with the Sale, and contain the following information: (i) a list of the
       applicable Contracts that may be assumed or assumed and assigned in connection
       with the Sale (the “Assigned Contracts,” and each individually, an “Assigned
       Contract”); (ii) the applicable Contract Counterparties; (iii) the Debtors’ good faith
       estimates of the proposed amount necessary to cure all monetary defaults, if any,
       under each Assigned Contract (the “Cure Costs”); and (iv) the deadline by which
       any Contract Counterparty to an Assigned Contract must file an objection to the
       proposed assumption, assignment, cure, and/or adequate assurance and the
       procedures relating thereto (the “Cure Objection”); provided that service of a Cure
       Notice does not constitute an admission that such Assigned Contract is an executory
       contract or unexpired lease or that such Assigned Contract will be assumed at any
       point by the Debtors or assumed and assigned pursuant to any Winning Bid.

c.     Cure Objections. Cure Objections, if any, to a Cure Notice must: (i) be in writing;
       (ii) comply with the applicable provisions of the Bankruptcy Rules, the Bankruptcy
       Local Rules, and any order governing the administration of these chapter 11 cases;
       (iii) state with specificity the nature of the objection and, if the Cure Objection
       pertains to the proposed Cure Costs, state the cure amount alleged to be owed to
       the objecting Contract Counterparty, together with any applicable and appropriate
       documentation in support thereof; provided that the Debtors may modify the Cure
       Objection Deadline by filing a notice of such modification on the Court’s docket.

d.     Effects of Filing a Cure Objection. A properly filed Cure Objection will reserve
       such objecting party’s rights against the Debtors only with respect to the
       assumption and assignment of the Assigned Contract at issue, and/or objection to
       the accompanying Cure Costs, as set forth in the Cure Objection, but will not
       constitute an objection to the remaining relief requested in the Sale Order.

e.     Dispute Resolution. Any Cure Objection to the assumption or assumption and
       assignment of an Assigned Contract or Cure Costs that remains unresolved after
       the Sale Hearing shall be heard at such later date as may be agreed upon by the
       parties or fixed by the Court. To the extent that any Cure Objection cannot be
       resolved by the parties, such Contract shall be assumed and assigned only upon
       satisfactory resolution of the Cure Objection, to be determined in the Winning
       Bidder’s reasonable discretion. To the extent a Cure Objection remains unresolved,
       the Contract may be conditionally assumed and assigned, subject to the consent of
       the Winning Bidder, pending a resolution of the Cure Objection after notice and a
       hearing. If a Cure Objection is not satisfactorily resolved, the Winning Bidder may
       determine that such Contract should not be assumed and assigned, in which case
       the Winning Bidder will not be responsible for any Cure Costs in respect of such
       contract. Notwithstanding the foregoing, if a Cure Objection relates solely to the
       Cure Costs (any such objection, a “Cure Dispute”), the applicable Assigned
       Contract may be assumed by the Debtors and assigned to the Winning Bidder
       provided that the cure amount the Contract Counterparty asserts is required to be
       paid under section 365(b)(1)(A) and (B) of the Bankruptcy Code (or such lower


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               amount as agreed to by the Contract Counterparty) is deposited in a segregated
               account by the Debtors pending the Court’s adjudication of the Cure Dispute or the
               parties’ consensual resolution of the Cure Dispute.

       f.      Supplemental Cure Notice. If the Debtors discover Contracts inadvertently
               omitted from the Cure Notice or the Winning Bidder identifies other Contracts that
               it desires to assume or assume and assign in connection with the Sale, the Debtors
               may, after consultation with the Winning Bidder, at any time before the closing of
               the Sale supplement the Cure Notice with previously omitted Contracts or modify
               a previously filed Cure Notice, including by modifying the previously stated Cure
               Costs associated with any Contracts (the “Supplemental Cure Notice”).

       g.      Objection to the Supplemental Cure Notice. Any Contract Counterparty listed
               on the Supplemental Cure Notice may file an objection (a “Supplemental Cure
               Objection”) only if such objection is to the proposed assumption or assumption and
               assignment of the applicable Contracts or the proposed Cure Costs, if any, modified
               by the Supplemental Cure Notice.               All Supplemental Cure Objections
               must: (i) state, with specificity, the legal and factual basis for the objection as well
               as what Cure Costs are required, if any; (ii) include appropriate documentation in
               support thereof; and (iii) be filed no later than 5:00 p.m. (prevailing Eastern Time)
               on the date that is twenty-one (21) days following the date of service of such
               Supplemental Cure Notice, which date will be set forth in the Supplemental Cure
               Notice.

       h.      Dispute Resolution of Supplemental Cure Objection. If a Contract Counterparty
               files a Supplemental Cure Objection in a manner that is consistent with the
               requirements set forth above, and the parties are unable to consensually resolve the
               dispute, the Debtors shall seek an expedited hearing before the Court to determine
               the Cure Costs, if any, and approve the assumption of the relevant Contracts. If
               there is no such objection, then the Debtors shall obtain an order of this Court fixing
               the Cure Costs and approving the assumption of any Contract listed on a
               Supplemental Cure Notice. Notwithstanding the foregoing, if a Supplemental Cure
               Objection relates solely to a Cure Dispute, the applicable Assigned Contract may
               be assumed by the Debtors and assigned to the Winning Bidder provided that the
               cure amount the Contract Counterparty asserts is required to be paid under section
               365(b)(1)(A) and (B) of the Bankruptcy Code (or such lower amount as agreed to
               by the Contract Counterparty) is deposited in a segregated account by the Debtors
               pending the Court’s adjudication of the Cure Dispute or the parties’ consensual
               resolution of the Cure Dispute.

I.     Miscellaneous.

       35.     All persons and entities that participate in the Auction or bidding for any Asset

during the Sale Transaction process shall be deemed to have knowingly and voluntarily

(i) consented to the core jurisdiction of the Court to enter any order related to the Bidding


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Procedures, the Auction or any other relief requested in the Motion or granted in this Order,

(ii) waived any right to a jury trial in connection with any disputes relating to the Bidding

Procedures, the Auction or any other relief requested in the Motion or granted in this Order, and

(iii) consented to the entry of a final order or judgment in connection with any disputes relating to

the Bidding Procedures, the Auction or any other relief requested in the Motion or granted in

this Order, if it is determined that the Court would lack Article III jurisdiction to enter such a final

order or judgment absent the consent of the relevant parties.

        36.     The Debtors are authorized to take all steps and pay all amounts necessary or

appropriate to implement the relief granted in this Order.

        37.     This Order shall be binding on the Debtors and its successors and assigns, including

any chapter 7 or chapter 11 trustee or other fiducially appointed for the estates of the Debtors.

        38.     All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

        39.     To the extent any provisions of this Order are inconsistent with the Motion, the terms

of this Order shall control. To the extent any provisions of this Order are inconsistent with the

Bidding Procedures, the terms of this Order shall control.

        40.     The banks and financial institutions on which checks were drawn or electronic

payment requests made in payment of the prepetition obligations approved herein are authorized

to receive, process, honor, and pay all such checks and electronic payment requests when presented

for payment, and all such banks and financial institutions are authorized to rely on the Debtors’

designation of any particular check or electronic payment request as approved by this Order.

        41.     Nothing contained in the Motion or this Order, and no action taken pursuant to the

relief requested or granted (including any payment made in accordance with this Order), is




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intended as or shall be construed or deemed to be: (a) an admission as to the amount, validity or

priority of, or basis for any claim against the Debtors under the Bankruptcy Code or other

applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s right to

dispute any claim on any grounds; (c) a promise or requirement to pay any particular claim; (d) an

implication, admission or finding that any particular claim is an administrative expense claim,

other priority claim or otherwise of a type specified or defined in the Motion or this Order; (e) a

request or authorization to assume, adopt, or reject any agreement, contract, or lease pursuant to

section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority, enforceability or

perfection of any lien on, security interest in, or other encumbrance on property of the Debtors’

estates; or (g) a waiver or limitation of any claims, causes of action or other rights of the Debtors

or any other party in interest against any person or entity under the Bankruptcy Code or any other

applicable law.

       42.     The Debtors are authorized, but not directed, to issue postpetition checks, or to

effect postpetition fund transfer requests, in replacement of any checks or fund transfer requests

that are dishonored as a consequence of these chapter 11 cases with respect to prepetition amounts

owed in connection with the relief granted herein.

       43.     Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied

by such notice.

       44.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

       45.     The Debtors are authorized to make non-substantive changes to the Bidding

Procedures, the Assumption and Assignment Procedures, and any related documents without




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further order of the Court, including, without limitation, changes to correct typographical and

grammatical errors.

       46.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       47.     This Court shall retain exclusive jurisdiction over any and all matters arising from or

related to the implementation, interpretation, and/or enforcement of this Order.




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                       EXHIBIT 1

                    Bidding Procedures
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                 )
In re:                                                           )     Chapter 11
                                                                 )
YELLOW CORPORATION, et al., 1                                    )     Case No. 23-11069 (___)
                                                                 )
                          Debtors.                               )     (Joint Administration Requested)
                                                                 )

                                        BIDDING PROCEDURES

       On August 6, 2023 (the “Petition Date”), Yellow Corporation and the above-captioned
debtors and debtors in possession (collectively, the “Debtors” and, the “Company”), filed
voluntary petitions for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§
101–1532 (the “Bankruptcy Code”), in the United States Bankruptcy Court for the District of
Delaware (the “Court”).

       Thereafter, on [●], 2023, the Court entered the Order (I)(A) Approving the Bidding
Procedures For the Sale or Sales of the Debtors’ Assets, (B) Scheduling an Auction and
Approving the Form and Manner of Notice Thereof; (C) Scheduling a Sale Hearing and
Approving the Form and Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors’
Assets Free and Clear of Liens, Claims, Interests and Encumbrances and (B) Approving the
Assumption and Assignment of Executory Contracts and Unexpired Leases; and (VI) Granting
Related Relief (the “Bidding Procedures Order”), by which the Court approved the bidding
procedures set forth herein (these “Bidding Procedures”). 2

        These Bidding Procedures set forth the process by which the Debtors are authorized to
conduct a marketing and auction process for the sale or sales (the “Sale”) of all or substantially
all of the Debtors’ assets (collectively, the “Assets”), through one or more transactions
(a “Sale Transaction”), which transaction(s) may be effectuated through a sale or sales pursuant
to section 363 of the Bankruptcy Code, and which transactions may contemplate the sale of one
or more of the following assets (or assumption and assignment of leases, as applicable):

•   any owned or leased vehicles, tractors, trucks, trailers, tank trailer and other trailers, or
    similar vehicles and trailers, railroad cars, locomotives, stacktrains and other rolling stock


1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
    principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street,
    Suite 400, Overland Park, Kansas 66211.
2
    Unless otherwise specified herein, capitalized terms used but not defined herein shall have the meanings
    ascribed to such terms in the Bidding Procedures Order and its respective motion filed at Docket. No. [●]
    (the “Bidding Procedures Motion”).
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    and accessories used on such railroad cars, locomotives or other rolling stock (including
    superstructures and racks) (the “Rolling Stock”);
•   any owned or leases real estate, including 169 terminals owned by the Debtors;
•   any sale-leaseback equity, pursuant to capital lease agreements through which the Debtors
    lease certain facilities;
•   any owned or licensed intellectual property, including any customer lists, trademarks,
    copyrights, domain names, or other similar intellectual property; and
•   any inventory, spare parts, supplies, accounts receivable, or other assets.

       Subject to the remaining terms of these Bidding Procedures, a Potential Bidder (as
defined below) may bid on the Assets (i) in individual lots, (ii) as a collective whole, or (iii) in
any combination.

        The ability to undertake and consummate any sale of the Assets shall be subject to
competitive bidding as set forth herein and approval by the Court. In addition to any Stalking
Horse Bid (as defined below), the Debtors will consider bids for any or all of the Assets in a
single bid from a single bidder or in multiple bids from multiple bidders. Any bid for less than all
of the Assets, even if such bid is the highest or otherwise best bid for such Assets, is subject to
higher or otherwise better bids on packages of Assets that may include such Assets. Similarly,
any bid on all of the Assets is subject to bids on individual Assets or packages of Assets that are,
in the aggregate, higher or otherwise better bids.

       The Debtors, in the exercise of their reasonable business judgment, in consultation with
the Consultation Parties (as defined herein) and solely to the extent permitted under the DIP
Credit Agreement (as defined in the DIP Motion), may elect to exclude any Assets from the
Bidding Procedures and sell such Assets at either a private or public sale, subject to Court
approval of any alternative sale method. The Debtors may determine in their discretion,
following consultation with the Consultation Parties, whether to proceed with a Sale of any Asset
pursuant to these Bidding Procedures.

1. KEY DATES AND DEADLINES

              Date and Time
                                                              Event or Deadline
       (all times in Eastern Time)
August 18, 2023                             Deadline for Indications of Interest
September 30, 2023                          Deadline to execute a Stalking Horse Agreement
October 15, 2023                            Bid Deadline
October 18, 2023                            Auction (if required)
October 20, 2023                            Notice of Winning Bidder
October 23, 2023                            Sale Objection Deadline for Bids

October 26, 2023                            Sale Hearing as to Winning Bid(s) (or Back-Up Bid(s),
                                            as applicable)

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2.       SUBMISSIONS TO THE DEBTORS; CONSULTATION PARTIES

       All submissions to the Debtors required or permitted to be made under these Bidding
Procedures must be directed to each of the following persons or entities unless otherwise
provided:

         2.1.     Debtors: Yellow Corporation, 11500 Outlook Street, Suite 400, Overland Park,
                  Kansas 66211, Attn.: General Counsel.

         2.2.     Debtors’ Proposed Counsel: (i) Kirkland & Ellis LLP, 300 North LaSalle,
                  Chicago,     Illinois, 60654,    Attn.:    Patrick  J.    Nash   Jr.,  P.C.
                  (patrick.nash@kirkland.com),          David           Seligman         P.C.
                  (david.seligman@kirkland.com), Steve Toth (steve.toth@kirkland.com); and
                  Whitney Fogelberg (whitney.fogelberg@kirkland.com) and Kirkland & Ellis
                  LLP, 601 Lexington Avenue, New York, New York 10022, Attn.: Allyson B.
                  Smith (allyson.smith@kirkland.com); and (ii) Pachulski Stang Ziehl & Jones
                  LLP, 919 North Market Street, 17th Floor, PO Box 8705, Wilmington, Delaware
                  19801, Attn: Laura Davis Jones (ljones@pszjlaw.com), Timothy P. Cairns
                  (tcairns@pszjlaw.com), Peter J. Keane (pkeane@pszjlaw.com), and Edward
                  Corma (ecorma@pszjlaw.com).

         2.3.     Debtors’ Proposed Investment Banker: Ducera Partners LLC, 11 Times Square,
                  36th Floor, New York, New York 10036, Attn: Cody Kaldenberg
                  (ckaldenberg@ducerapartners.com)         and          Jon        Cremeans
                  (jcremeans@ducerapartners.com).

         2.4.     Debtors’ Proposed Financial Advisor: Alvarez & Marsal North America, LLC,
                  Brian Whittman (BWhittman@alvarezandmarsal.com) and Michael Leto
                  (mleto@alvarezandmarsal.com).

        The “Consultation Parties” are (A) the Prepetition B-2 Lenders, (B) the Prepetition ABL
Agent, (C) the DIP Lenders, (D) the official committee of unsecured creditors of the Debtors (the
“Committee”), if any, (E) other secured lenders with liens on the Assets, (F) the Prepetition UST
Secured Parties (as defined in the Interim UST Cash Collateral Order); 3 provided that, to the
extent that the Prepetition B-2 Lenders, the Prepetition ABL Agent, the Prepetition UST Secured
Parties, the DIP Lenders, any members of the Committee, or any other secured lender with a lien
on the Assets, including any Prepetition Agents, the Prepetition UST Agent, and DIP Agent, 4
submit a credit bid in connection with any Sale Transaction, such party shall not be a
Consultation Party. For the avoidance of doubt, neither the Prepetition B-2 Lenders nor the DIP
Lenders shall be Potential Bidders unless and until the Prepetition B-2 Agent or DIP Agent, as
3
     “Prepetition UST Tranche B Liens” shall have the meaning given to such term in the Interim UST Cash
     Collateral and Adequate Protection Order (I) Authorizing the Debtors to (A) Use UST Cash Collateral and All
     Other Prepetition UST Collateral, (II) Granting Adequate Protection, (III) Modifying the Automatic Stay, (IV)
     Scheduling a Final Hearing, and (V) Granting Related Relief (the “Interim UST Cash Collateral Order”).
4
     “Prepetition B-2 Lenders,” “Prepetition ABL Agent” “Prepetition Agents,” “DIP Lenders,” and “DIP Agent”
     shall each have the meaning ascribed to them in the DIP Motion.


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applicable, submits a credit bid on their behalf. Materials and information provided to the
advisors to any Consultation Party may be shared with such Consultation Party, subject to the
respective confidentiality agreement entered into by and between each such Consultation Party
and the Debtors.

3.     POTENTIAL BIDDERS & ACCEPTABLE BIDDERS

        To participate in the bidding process or otherwise be considered for any purpose
under these Bidding Procedures, a person or entity interested in consummating a Sale
Transaction (a “Potential Bidder”) must deliver or have previously delivered to the Debtors and
each of their advisors the following documents and information (unless the Debtors, in their
reasonable business judgment after consultation with the Consultation Parties, choose to waive
any of the requirements set forth in this Section 3 for any Potential Bidder):

       3.1.     a statement and other factual support demonstrating, to the Debtors’ satisfaction,
                that the Potential Bidder has a bona fide interest in purchasing any or all of the
                Assets and is likely to be able to submit a Qualified Bid (as defined below) by the
                Bid Deadline (as defined below), and has the financial ability to consummate its
                proposed Sale Transaction;

       3.2.     a description of any connections the Potential Bidder, its affiliates, and related
                persons have to the Debtors, any current or former directors and officers of the
                Debtors, their non-Debtor affiliates, and their primary creditors as identified by
                the Debtors;

       3.3.     an executed confidentiality agreement on terms acceptable to the Debtors
                (a “Confidentiality Agreement”);

       3.4.     the identification of the Potential Bidder and any principals and representatives
                thereof who are authorized to appear and act on such Potential Bidder’s behalf for
                all purposes regarding the contemplated Sale Transaction(s); and

       3.5.     an optional non-binding written indication of interest specifying, among other
                things, with respect to any proposed Sale Transaction, the identity of the Assets to
                be acquired, the amount and type of consideration to be offered, and any other
                material terms to be included in a bid by such Potential Bidder.

        The Debtors will provide copies of materials delivered by any Potential Bidder prior to
the date of these Bidding Procedures upon reasonable request by the Consultation Parties and/or
their counsel.

       The Debtors, in their reasonable business judgment, following consultation with the
Consultation Parties, will determine and notify each Potential Bidder whether such Potential
Bidder has submitted adequate documents so that such Potential Bidder may proceed to conduct
due diligence and submit a Bid (as defined herein) (such Potential Bidder, an “Acceptable
Bidder”).



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       The Debtors may, in their reasonable business judgment, conduct a process for the sale of
unsold Assets that are not included in any Winning Bid(s), subject to the terms of the DIP Credit
Agreement.

4.     DUE DILIGENCE

       The Debtors, with their advisors, have established an electronic data room or rooms
(the “Data Room”) that provide standard and customary diligence materials, including
information to allow Acceptable Bidders to submit a Qualified Bid (as defined below) and to
seek and obtain financing commitments.

        Only Acceptable Bidders shall be eligible to receive due diligence information and access
to the Data Room and to additional non-public information regarding the Debtors. Subject to the
other terms herein, the Debtors may provide to each Acceptable Bidder reasonable due diligence
information, as requested by such Acceptable Bidder in writing, as soon as reasonably
practicable after such request, and the Debtors shall use commercially reasonable efforts to post
substantially all written due diligence provided to any Acceptable Bidder to the Debtors’ Data
Room. The due diligence period for any Stalking Horse Bidder (as defined herein) will end prior
to execution of the applicable Stalking Horse Agreement, unless otherwise agreed pursuant to the
applicable Stalking Horse Agreement. For all Acceptable Bidders other than any Stalking Horse
Bidder, the due diligence period will end on the Bid Deadline. The Debtors may, in their
reasonable business judgment after consultation with the Consultation Parties, but shall have no
obligation to, furnish any additional due diligence information to any person following execution
of a Stalking Horse Agreement or the Bid Deadline, as applicable.

         The Debtors shall not furnish any confidential information relating to the Assets,
liabilities of the Debtors, or the Sale(s) to any person except to an Acceptable Bidder or to such
Acceptable Bidder’s duly authorized representatives subject to the applicable Confidentiality
Agreement. The Debtors and their advisors shall coordinate all reasonable requests from
Acceptable Bidders for additional information and due diligence access; provided that the
Debtors may decline to provide such information to Acceptable Bidders who, at such time and in
the Debtors’ reasonable business judgment and after consultation with the Consultation Parties,
have not established, or who have raised doubt, that such Acceptable Bidder intends in good
faith to, or has the capacity to, consummate the applicable Sale Transaction.

        Neither the Debtors nor any of their representatives shall be obligated to furnish any
information of any kind whatsoever relating to the Assets (a) to any person or entity who is not
an Acceptable Bidder or (b) if and to the extent doing so would (1) violate any law to which the
Debtors are subject, including any privacy law, (2) result in the disclosure of any trade secrets of
third parties in breach of any contract with such third party, (3) violate any legally-binding
obligation of any Debtor with respect to confidentiality, non-disclosure or privacy or
(4) jeopardize protections afforded to any Debtor under the attorney-client privilege or the
attorney work product doctrine (provided, that, in case of each of clauses (1) through (4), the
Debtors shall use commercially reasonable efforts to (x) provide such access as can be provided
(or otherwise convey such information regarding the applicable matter as can be conveyed)
without violating such privilege, doctrine, contract, obligation or law and (y) provide such
information in a manner without violating such privilege, doctrine, contract, obligation, or law).

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         The Debtors also reserve the right to withhold any diligence materials that the Debtors
determine are sensitive or otherwise not appropriate for disclosure, including to an Acceptable
Bidder whom the Debtors determine in consultation with the Consultation Parties is a competitor
of the Debtors or is affiliated with any competitor of the Debtors. Neither the Debtors nor their
representatives shall be obligated to furnish information of any kind whatsoever to any person
that is not determined to be an Acceptable Bidder.

      All due diligence requests directed to the Debtors must be directed to:
yellow@ducerapartners.com.

       Each Potential Bidder or Acceptable Bidder (as defined below) shall comply with all
reasonable requests with respect to information and due diligence access by the Debtors or
their advisors regarding such Potential Bidder or Acceptable Bidder, as applicable, and its
contemplated Sale Transaction.

5.     BID REQUIREMENTS.

       Any proposal, solicitation, or offer to consummate a Sale Transaction (each, a “Bid”)
must be submitted in writing and must satisfy the following requirements (collectively,
the “Bid Requirements”):

       5.1.     Proposed Sale Transaction. Each Bid must clearly propose a Sale Transaction
                as to the Assets. Each Bid must specify (1) which of such Assets are to be
                included in the proposed Sale Transaction (the “Acquired Assets”) and (2) to the
                extent such Bid is for substantially all of the Assets, which Assets are to be
                excluded from the proposed Sale Transaction (the “Excluded Assets”), in each
                case, as well as the disposition of any liabilities or obligations of the Debtors. For
                the avoidance of doubt, all Assets held by non-Debtor subsidiaries primarily
                related to the non-U.S. businesses of the Debtors shall be presumed to be
                Excluded Assets.

       5.2.     Purchase Price. Each Bid must clearly specify a purchase price, including and
                identifying separately any Cash and non-Cash components in US dollars
                (the “Purchase Price”). A Bid that encompasses less than all of the Assets but
                includes multiple businesses, segments, or groups of assets must contain sufficient
                information as to allow the Debtors to determine an allocation of value among
                each business, segment, or group of assets. If the Debtors select a Stalking Horse
                Bidder (as defined below) for such assets, then such Purchase Price shall exceed
                such Stalking Horse Bid (as defined below) by at least the aggregate sum of
                (1) the Bid Protections (as defined below) for such assets, and (2) such additional
                amount as determined by the Debtors in their reasonable business judgment after
                consultation with the Consultation Parties.

       5.3.     Deposit. Each Bid other than a credit bid must be accompanied by a Cash deposit
                equal to ten percent (10%) of the applicable aggregate Purchase Price
                (the “Deposit”), to be held in one or more escrow accounts on terms acceptable to
                the Debtors and the Consultation Parties; provided, however, that the Debtors, in

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         their reasonable business judgment and in consultation with the Consultation
         Parties, may elect to waive or modify the requirement of a Deposit on a
         case-by-case basis. For the avoidance of doubt, to the extent the Purchase Price
         of a Bid is increased, at any time or from time to time, whether prior to
         commencement of the Auction or during the Auction, the amount of the Deposit
         shall automatically increase accordingly (to be equal to 10% of any increased
         Purchased Price) and the corresponding bidder will pay into escrow the amount of
         such increase, as promptly as practicable, and in any event within one business
         day, following such increase. Without limiting the foregoing, if a Purchase Price
         is increased in order to make a bid into a Qualified Bid, the Debtors may
         condition participation of the applicable bidder at the Auction on such bidder
         paying the then full amount of the Deposit into escrow prior to commencement of
         the Auction or such participation.

5.4.     Transaction Documents. Each Bid must be accompanied by an executed
         purchase agreement with respect to the proposed Sale Transaction, including the
         exhibits, schedules, and ancillary agreements related thereto and any other related
         material documents integral to such Bid. In addition, (1) the executed purchase
         agreement accompanying such bidder’s Bid must be further accompanied by a
         redline copy marked to reflect any amendments or modifications to the form
         purchase agreement provided by the Debtors and (2) if one or more Stalking
         Horse Bidders have been designated for the applicable Assets, the executed
         purchase agreement accompanying such bidder’s Bid must be further
         accompanied by a redline copy marked against each applicable Stalking Horse
         Agreement.

5.5.     Back-Up Bidder Commitment. Each Bid must include a written commitment
         by the applicable Potential Bidder to serve as a Back-Up Bidder in the event that
         such Potential Bidder’s Bid is not selected as the Winning Bid; provided that the
         foregoing shall not apply to any Potential Bidder that (1) is the DIP Agent (on
         behalf of the DIP Lenders); (2) both (a) qualifies as a Secured Party (as defined
         herein) and (b) submits a Bid that contemplates providing consideration pursuant
         to section 363(k) of the Bankruptcy Code; or (3) is expressly exempted from such
         requirement pursuant to an applicable Stalking Horse Agreement (as defined
         herein).

5.6.     Proof of Financial Ability to Perform. Each Bid must include written evidence
         that the Debtors reasonably conclude, in consultation with the Consultation
         Parties, demonstrates that the bidder has the necessary financial ability to close
         the proposed Sale Transaction. Such information must include the following:

         5.6.1. contact names and telephone numbers for verification of financing
                sources;

         5.6.2. evidence of the bidder’s internal resources and, if applicable, proof of
                fully executed and effective financing commitments with limited
                conditionality customary for transactions of this type from one or more

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                reputable sources in an aggregate amount equal to the Cash portion of
                such Bid (including, if applicable, the payment of cure amounts), in each
                case, as are needed to close the Sale Transaction;

         5.6.3. a description of the bidder’s pro forma capital structure; and

         5.6.4. any other financial disclosure or credit-quality support information or
                enhancement reasonably requested by the Debtors demonstrating that such
                bidder has the ability to close the proposed Sale Transaction.

5.7.     Contingencies; No Financing or Diligence Outs. Each Bid shall not be
         conditioned on the obtaining or the sufficiency of financing or any internal
         approval, or on the outcome or review of due diligence.

5.8.     Identity. Each Bid must fully disclose the identity of each entity that will be
         bidding or otherwise participating in connection with such Bid—including each
         equity holder or other financial backer of the bidder if such bidder is an entity
         formed for the purpose of consummating the proposed Sale Transaction
         contemplated by such Bid—and the complete terms of any such participation.
         Each Bid should also include contact information for the specific person(s) and
         counsel whom the Debtors (and their advisors) should contact regarding such Bid.

5.9.     Authorization. Each Bid must contain evidence acceptable to the Debtors that
         the bidder has obtained authorization or approval from its board of directors
         (or a comparable governing body) with respect to the submission of its Bid and
         the consummation of the Sale Transaction contemplated by such Bid.

5.10.    Contracts and Leases. Each Bid must identify each and every executory
         contract and unexpired lease to be assumed and assigned in connection with the
         proposed Sale Transaction (collectively, the “Assigned Contracts”). Each Bid
         must be accompanied by adequate assurance of future performance under all
         Assigned Contracts, which shall include audited and unaudited financial
         statements, tax returns, bank account statements, and a description of the business
         to be conducted at the premises, and such other documentation as the Debtors
         may request (the “Adequate Assurance Package”). The Adequate Assurance
         Package should be submitted in its own compiled PDF document.

5.11.    As-Is, Where-Is. Each Bid must include a written acknowledgement and
         representation that: (1) the bidder has had an opportunity to conduct any and all
         due diligence regarding the Sale Transaction prior to making its offer; (2) the
         bidder has relied solely upon its own independent review, investigation, or
         inspection of any documents in making its Bid; (3) except as may be set forth in
         Definitive Sale Documents (as defined below) concerning such Bid, the bidder
         did not rely, and is not relying upon any written or oral statements,
         representations, promises, warranties, or guaranties whatsoever, whether express,
         implied by operation of law, or otherwise, by the Debtors or their advisors or
         other representatives regarding the Sale Transaction, the completeness of any

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               information provided in connection therewith or the Auction, if any, or otherwise;
               and (4) the bidder did not engage in any collusive conduct and acted in good faith
               in submitting its Bid.

       5.12.   No Break-Up Fee. Each Bid must expressly state and acknowledge that such
               bidder shall not be entitled to, and shall not seek, any transaction break-up fee,
               termination fee, expense reimbursement, working fee, or similar type of payment;
               provided, that the Debtors are authorized in their discretion, subject to Section 6
               of these Bidding Procedures, to offer Bid Protections (as defined below) to one or
               more Stalking Horse Bidders in accordance with the Bidding Procedures and the
               Bidding Procedures Order. Provided further, each Bid must expressly waive any
               claim or or right to assert any substantial contribution administrative expense
               claim under section 503(b) of the Bankruptcy Code or the payment of any broker
               fees or costs in connection with bidding for any of the Assets and/or otherwise
               participating in the Auction or the sale process.

       5.13.   Transition Services. Each Bid must state or otherwise estimate the types of
               transition services, if any, the Potential Bidder would require of and/or provide to
               the Debtors, including an estimate of the time any such transition services would
               be required of and/or provided to the Debtors, if the Potential Bidder’s Bid were
               selected as the Winning Bid for the applicable Assets.

       5.14.   Indication of Interest. To the extent a bidder provided a non-binding indication
               of interest pursuant to Section 3.5 of these Bidding Procedures, each Bid
               submitted by such a bidder must describe any material deviations of the Bid from
               the indication of interest.

       5.15.   Commitment to Close. Each Bid must include a commitment to close as soon as
               practicable, and state the expected date of closing of the Sale Transaction.

       5.16.   Irrevocable Bid. Each Bid must contain a statement by the applicable bidder
               acknowledging and agreeing that such Bid and each of its provisions is binding
               upon the bidder and irrevocable in all respects.

       5.17.   Compliance with Bidding Procedures. Each Bid must contain a covenant that
               the applicable bidder will comply with the terms of these Bidding Procedures and
               the Bidding Procedures Order.

       5.18.   Combination Bids. For Bids that contemplate a purchase of multiple categories
               of Assets, each Bid must specify: (i) allocation of the Purchase Price across
               categories of Assets (e.g., between Rolling Stock, real estate, etc.); (ii) for Bids
               that include real estate and sale-leaseback equity specifically, the Purchase Price
               must be allocated across each individual property included in the Bid; and
               (iii) Bids must indicate whether the offer is on an “all or none” basis in the event
               that the Potential Bidder is outbid for certain Assets contemplated in the Bid.

       By submitting a Bid, each bidder is agreeing, and shall be deemed to have agreed, to
abide by and honor the terms of these Bidding Procedures and to refrain from (A) submitting a
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Bid after conclusion of the Auction (if any) or (B) seeking to reopen the Auction (if any) once
closed. The submission of a Bid shall constitute a binding and irrevocable offer (a) for the
Winning Bidder, until consummation of the Sale Transaction, (b) for the Back-Up Bidder
(if any), as provided in these Bidding Procedures, including Section 11 hereof, and (c) for
any bidder other than the Winning Bidder and Back-Up Bidder, until two business days
after entry of the Sale Order approving the Winning Bid and (if applicable) the Back-Up
Bid for the applicable Assets, and each Bid must include a written acknowledgment and
representation to such effect.

       For the avoidance of doubt, the Debtors may disclose the terms of any Bid that
requires modification and/or termination of any collective bargaining agreements or
related agreements with any union to such union; provided that such union has executed a
confidentiality agreement with the Debtors.

6.     STALKING HORSE BIDDER.

        The Debtors are and shall be authorized, but not obligated, in an exercise of their
reasonable business judgment, and upon consent of the Consultation Parties, to: (A) select one
or more Acceptable Bidders to act as stalking horse bidders in connection with a Sale
Transaction (each, a “Stalking Horse Bidder,” and such Acceptable Bidder’s Bid, a “Stalking
Horse Bid”) and enter into a purchase agreement with respect to such Sale Transaction with such
Stalking Horse Bidder (each such agreement, a “Stalking Horse Agreement”); and (B) in connection
with any Stalking Horse Agreement and in recognition of such Stalking Horse Bidder’s
expenditure of time, energy, and resources, the Debtors may, with the consent of the
Consultation Parties, determine to (i) provide a breakup fee (other than with respect to a Stalking
Horse Bidder that is a Secured Party (as defined herein)) (the “Breakup Fee”) and/or
(ii) reimburse such Stalking Horse Bidder’s reasonable and documented out-of-pocket fees and
expenses (including attorney’s fees and expenses) actually incurred in connection with
preparation and negotiation of the Stalking Horse Agreement (the “Expense Reimbursement,”
and together with the Breakup Fee, the “Bid Protections”); provided that, with respect to any
Stalking Horse Agreement, the aggregate of the Breakup Fee and the total Expense
Reimbursements shall in no event exceed three percent (3%) of the applicable Purchase Price.
To the extent the Bid Protections do not otherwise comply with these Bidding Procedures, the
Debtors reserve the right to seek Court approval of such Bid Protections. The applicable
Debtors’ entry into a Stalking Horse Agreement and/or provision of Bid Protections to a Stalking
Horse Bidder shall be in compliance with the DIP Orders, the DIP Documents (as defined in the
DIP Motion), and the Debtors’ obligations thereunder.

        No later than one business day after selecting a Stalking Horse Bidder, the Debtors shall
file with the Court and serve a notice that (A) identifies the Stalking Horse Bidder and the
material terms of the applicable Stalking Horse Bid, including the Purchase Price and the Assets
to which such Stalking Horse Bid relates; and (B) attaches a copy of the corresponding Stalking
Horse Agreement.




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7.     BID DEADLINES.

        Any Bid must be transmitted via email (in .pdf or similar format) to each of the parties
specified in Section 2 hereof so as to be actually received by such parties on or before
October 15, 2023 by 5:00 p.m. (prevailing Eastern Time) (the “Bid Deadline”).

8.     QUALIFIED BIDS & QUALIFIED BIDDERS.

        A Bid is a “Qualified Bid” if the Debtors, in the Debtors’ reasonable business judgment
and in consultation with the Consultation Parties, determine that such Bid (A) satisfies the Bid
Requirements set forth above; (B) is for an amount equal to or greater than $1,000,000.00 in the
aggregate; and (C) is reasonably likely to be consummated if selected as the Winning Bid (or
Back-Up Bid, as applicable) (as defined below) for the applicable Assets, no later than the
Applicable Outside Date (as defined herein); provided that any Stalking Horse Bid shall
constitute and be deemed a Qualified Bid.

        An Acceptable Bidder that submits a Qualified Bid is a “Qualified Bidder” with respect
to the Assets to which such Qualified Bid relates.

        As soon as reasonably practicable after the applicable Bid Deadline, the Debtors will
notify each Acceptable Bidder whether such party is a Qualified Bidder and shall provide the
Consultation Parties’ counsel with a copy of each Qualified Bid. If an Acceptable Bidder’s Bid
is determined not to be a Qualified Bid, the Debtors will refund such Acceptable Bidder’s
Deposit (if any) on the date that is three business days after the applicable Bid Deadline.

       Between the date that the Debtors notify an Acceptable Bidder that it is a Qualified
Bidder and the date set for the Auction, the Debtors may discuss, negotiate, or seek clarification
of any Qualified Bid from a Qualified Bidder. Without the prior written consent of the Debtors
following consultation with the Consultation Parties, a Qualified Bidder may not modify, amend,
or withdraw its Qualified Bid, except for proposed amendments to increase the Purchase Price,
or otherwise improve the terms of, the Qualified Bid, during the period that such Qualified Bid
remains binding as specified in the Bidding Procedures; provided that any Qualified Bid may be
improved at the Auction (if any) as set forth herein. Any improved Qualified Bid must continue
to comply with the requirements for Qualified Bids set forth in these Bidding Procedures.

         Notwithstanding anything herein to the contrary, the Debtors, in consultation with the
Consultation Parties, reserve the right to work with (A) Potential Bidders and Acceptable
Bidders to aggregate two or more Bids into a single consolidated Bid prior to the applicable Bid
Deadline and (B) Qualified Bidders to aggregate two or more Qualified Bids into a single
Qualified Bid prior to the conclusion of the Auction (if any). The Debtors, in consultation with
the Consultation Parties, reserve the right to cooperate with any Acceptable Bidder to cure any
deficiencies in a Bid that is not initially deemed to be a Qualified Bid. The Debtors, in
consultation with the Consultation Parties, may accept a single Qualified Bid or multiple Bids
that, if taken together in the aggregate, would otherwise meet the standards for a single Qualified
Bid (in which event those multiple bidders shall be treated as a single Qualified Bidder and their
Bid a single Qualified Bid for purposes of the Auction (if any)).

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9.     RIGHT TO CREDIT BID.

        Any Qualified Bidder that has a valid and perfected lien on any Assets of the Debtors’
estates (a “Secured Party”) shall be entitled to credit bid all or a portion of the face value of such
Secured Party’s claims against the Debtors toward the Purchase Price specified in such
Qualified Bidder’s Bid; provided that a Secured Party shall be entitled to credit bid its claim(s)
only with respect to Assets that are subject to a valid and perfected first priority lien in favor of
such Secured Party as to such claim(s). Notwithstanding anything to the contrary herein, each of
the Prepetition Agents, the Prepetition UST Agent, subject to section 363(k) of the Bankruptcy
Code, and the DIP Agents may submit a credit bid of all or any portion of the aggregate amount
of their respective secured claims, including, with respect to the DIP Agent, any postpetition
financing claims. Any credit bid submitted by any Prepetition Agent, subject to section 363(k)
of the Bankruptcy Code, or the DIP Agent shall be deemed a Qualified Bid regardless of whether
it meets the requirements set forth herein.

        In the event that the DIP Agent, on behalf of the DIP Lenders, or the Prepetition B-2
Agent, on behalf of the Prepetition B-2 Lenders, submits a credit bid comprised of any of their
DIP Obligations (as defined in the DIP Motion) or Prepetition B-2 Obligations (as defined in the
DIP Motion), respectively, on any assets securing such respective obligations, and without
limiting any other requirements for approval of any other bid as a higher or better offer or a
Winning Bid, any further bid for the purchase of some or all of the assets and any sale of such
assets to a Winning Bidder (other than the DIP Agent, on behalf of the DIP Lenders, or the
Prepetition B-2 Agent, on behalf of the Prepetition B-2 Lenders) that is approved by the Court
must provide for, at the closing of such Sale Transaction, indefeasible cash payments of the DIP
Obligations and the Prepetition B-2 Obligations to the DIP Agent, on behalf of the DIP Lenders,
or the Prepetition B-2 Agent, on behalf of the Prepetition B-2 Lenders, respectively, in greater
than the dollar amount equivalent of the credit bid submitted by the DIP Agent, on behalf of the
DIP Lenders, or the Prepetition B-2 Agent, on behalf of the Prepetition B-2 Lenders, as
applicable, in order for the Bid of such Winning Bidder to be considered as a potentially higher
or better bid and/or to be approved by the Court as a Winning Bid, unless otherwise agreed to by
the DIP Agent, on behalf of the DIP Lenders, or the Prepetition B-2 Agent, on behalf of the
Prepetition B-2 Lenders, as applicable.

       Notwithstanding the foregoing, following the submission of a credit bid by the DIP Agent
or any Prepetition Agent, the Debtors may sell a portion of the Assets that are subject to such
credit bid with the prior written consent of the DIP Agent or such Prepetition Agent, as
applicable, and the amount of such credit bid shall be adjusted accordingly.

       The rights and defenses of the Debtors and any other party in interest with respect to
whether any assertion that any liens, claims, encumbrances, or interests, if any, will attach to the
proceeds of the Sale Transaction(s) are expressly preserved.

10.    AUCTION.

       If the Debtors receive two or more Qualified Bids with respect to the same Assets by the
applicable Bid Deadline, the Debtors may, in consultation with the Consultation Parties, conduct
an auction (the “Auction”) to determine the Winning Bidder (or Back-Up Bidder, as applicable)

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with respect to such Assets. In such event, the Debtors will (A) notify all Qualified Bidders of
the highest or otherwise best Qualified Bid with respect to the applicable Assets, as determined
by the Debtors in their reasonable business judgment and in consultation with the Consultation
Parties (each such Qualified Bid, a “Baseline Bid”) and (B) provide copies of the documents
setting forth the terms of the Baseline Bid(s) to all Qualified Bidders, in each case, as soon as
reasonably practicable after the Bid Deadline and in any event no later than prior to the
commencement of the Auction. The Debtors’ determination of which Qualified Bid constitutes
the Baseline Bid shall take into account any factors the Debtors, in their reasonable
business judgment and in consultation with the Consultation Parties, deem relevant to the value
of the Qualified Bid to the Debtors’ estates and the Debtors’ patient care mandate and related
regulatory requirements.

         If the Debtors, in consultation with the Consultation Parties, determine that they have
received no Qualified Bids other than any Stalking Horse Bid(s) or they have received only a
single Qualified Bid, then the Auction will not occur, and the Stalking Horse Bid(s) or the
Qualified Bid will be deemed to be the Winning Bid(s) for the Assets to which such Stalking
Horse Bid(s) or Qualified Bid relates. If the Debtors make such a determination, the Debtors
shall file a notice with the Court within one business day of making such determination.

       If the Debtors receive two or more Qualified Bids, the Auction shall take place on
October 18, 2023 at time to be announced by the Debtors in consultation with the
Consultation Parties, via remote video and/or in person at the Debtors’ election, and shall be
conducted in a timely fashion according to the procedures set forth in Section 10(i)-(vii) of these
Bidding Procedures (the “Auction Procedures”).

                                       AUCTION PROCEDURES

       (i)     The Debtors Shall Conduct the Auction; General Provisions. The Debtors,
               with the assistance of their advisors, shall direct and preside over any Auction and
               shall consult with the Consultation Parties throughout the Auction process. At the
               commencement of the Auction, the Debtors (1) may announce procedural and
               related rules governing the Auction, including time periods available to all
               Qualified Bidders to submit any successive Bid(s); and (2) shall describe the terms
               of the Baseline Bid. Only incremental Bids that comply with the terms set forth in
               Section 10(ii) of these Bidding Procedures shall be considered “Overbids.”
               Overbids shall be made and received on an open basis, and all material terms of
               each Overbid shall be fully disclosed to all other Qualified Bidders. The Debtors,
               in consultation with the Consultation Parties, shall determine in their reasonable
               business judgment whether an incremental Bid is an Overbid. The Debtors shall
               maintain a written transcript of all Bids made and announced at the Auction,
               including the Baseline Bid, all Overbids, and the Winning Bid (or Back-Up Bid, as
               applicable) (as defined below).

               Only Qualified Bidders, the Debtors, the Consultation Parties and each of their
               respective legal and financial advisors, and any other parties specifically invited
               or permitted to attend by the Debtors, shall be entitled to attend the Auction, and
               the Qualified Bidders shall appear at the Auction in person and may speak or bid

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         themselves or through duly authorized representatives. Except as otherwise
         permitted by the Debtors in consultation with the Consultation Parties, only
         Qualified Bidders shall be entitled to bid at the Auction.

         The Debtors have the right to request any additional information that will allow
         the Debtors to make a reasonable determination as to a Qualified Bidder’s
         financial and other capabilities to consummate the transactions contemplated by
         their proposal and any further information that the Debtors believe is reasonably
         necessary to clarify and evaluate any Bid made by a Qualified Bidder during the
         Auction.

         The Debtors may, subject to Section 15 of these Bidding Procedures, announce at
         the Auction modified or additional procedures for conducting the Auction or
         otherwise modify these Bidding Procedures.

(ii)     Terms of Overbids. Each Overbid must comply with the following terms:

         (a)    Minimum Overbid Increment. At the commencement of the initial
                solicitation of Overbids, the Debtors, in consultation with the Consultation
                Parties, shall announce the minimum increment by which any Overbid
                must exceed the applicable Baseline Bid. At the commencement of each
                subsequent round of solicitation of Overbids, the Debtors shall announce
                the minimum increment by which any Overbid must exceed the Prevailing
                Highest Bid (as defined below) at such time. The Debtors may, in their
                reasonable business judgment and in consultation with the Consultation
                Parties, announce increases or reductions to the applicable minimum
                Overbid increment at any time during the Auction. Any Overbid made by
                a Stalking Horse Bidder shall be deemed to have been made in an amount
                equal to the Overbid plus, if applicable, the Expense Reimbursement and
                the Breakup Fee, to the extent provided in the applicable Stalking Horse
                Agreement.

         (b)    Conclusion of Each Overbid Round. Upon the solicitation of each round
                of Overbids, the Debtors may announce a deadline by which time any
                Overbids must be submitted to the Debtors (an “Overbid Round
                Deadline”); provided that the Debtors, in their reasonable business
                judgment and after consultation with the Consultation Parties, may extend
                any Overbid Round Deadline.

         (c)    Overbid Alterations. An Overbid may contain alterations, modifications,
                additions, or deletions of any terms of the Bid no less favorable in the
                aggregate to the Debtors’ estates than any prior Qualified Bid or Overbid,
                as determined in the Debtors’ reasonable business judgment and after
                consultation with the Consultation Parties, but shall otherwise comply
                with the terms of these Bidding Procedures.




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          (d)    Announcing Highest Bid. Subsequent to each Overbid Round Deadline,
                 the Debtors shall announce whether the Debtors, in consultation with the
                 Consultation Parties, have identified an Overbid as being higher or
                 otherwise better than, in the initial Overbid round, the Baseline Bid or, in
                 subsequent rounds, the Overbid previously designated by the Debtors as
                 the prevailing highest or otherwise best Bid (the “Prevailing Highest
                 Bid”). The Debtors shall describe to all applicable Qualified Bidders the
                 material terms of any new Overbid designated by the Debtors as the
                 Prevailing Highest Bid, as well as the value attributable by the Debtors to
                 such Prevailing Highest Bid.

(iii)     Consideration of Overbids. The Debtors reserve the right, in their reasonable
          business judgment and in consultation with the Consultation Parties, to adjourn the
          Auction one or more times, to, among other things (1) facilitate discussions
          between the Debtors and Qualified Bidders, (2) allow Qualified Bidders the
          opportunity to consider how they wish to proceed, and (3) provide Qualified
          Bidders the opportunity to provide the Debtors with such additional evidence as
          the Debtors, in their reasonable business judgment, may require, that the Qualified
          Bidder has sufficient internal resources or has received sufficient and sufficiently
          unconditional financing commitments to consummate the proposed Sale
          Transaction at the prevailing Overbid amount.

(iv)      No Round-Skipping. To remain eligible to participate in the Auction, in each
          round of bidding, each Qualified Bidder, except the Qualified Bidder that
          submitted the Prevailing Highest Bid, must submit an Overbid with respect to such
          round of bidding. To the extent a Qualified Bidder that did not submit the
          Prevailing Highest Bid fails to submit an Overbid with respect to such round of
          bidding, such Qualified Bidder shall be disqualified from continuing to participate
          in the Auction; provided the Debtors, in their reasonable business judgment and in
          consultation with the Consultation Parties, may permit a bidder that has been
          disqualified to take part in the Auction solely to the extent a Qualified Bidder that
          has not been disqualified has agreed (after receiving express permission from the
          Debtors upon consultation with the Consultation Parties) to permit such
          disqualified bidder to join such Qualified Bidder in its next-round Bid as an
          additional purchaser party or debt or equity financing source.

(v)       Closing the Auction. The Auction shall continue until there is only one
          Qualified Bid for a particular group of assets that the Debtors determine, in their
          reasonable business judgment and in consultation with the Consultation Parties, to
          be the highest or otherwise best Qualified Bid for the applicable Assets. Such
          Qualified Bid shall be designated the “Winning Bid” (or Back-Up Bid, as
          applicable, and the Qualified Bidder who submitted the Winning Bid, the
          “Winning Bidder”) with respect to its proposed Acquired Assets, at which time the
          Auction with respect to such Assets shall be closed; provided that (1) such Auction
          shall not close unless and until all Qualified Bidders have been given a reasonable
          opportunity to submit an Overbid at the Auction to the then Prevailing Highest
          Bid; and (2) the Debtors’ designation of a Qualified Bid as a Winning Bid (or

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                 Back-Up Bid, as applicable) shall be subject to and conditioned on finalization of
                 definitive documentation and the Court’s approval of such Winning Bid (or Back-
                 Up Bid, as applicable), applicable regulatory and third-party approvals, and the
                 consummation of the Sale Transaction contemplated thereby. As soon as
                 reasonably practicable after the designation of a Winning Bid (or Back-Up Bid, as
                 applicable), the Debtors, in consultation with the Consultation Parties, shall
                 finalize definitive documentation to implement the terms of such Winning Bid
                 (or Back-Up Bid, as applicable) and cause such definitive documentation to be
                 filed with the Court.

       (vi)      No Collusion; Good Faith Offer. Each Qualified Bidder participating at the
                 Auction will be required to confirm on the record at the Auction that (1) such
                 Qualified Bidder has not engaged in any collusion with respect to the bidding
                 process (2) such Qualified Bidders’ Qualified Bid is a good faith and irrevocable
                 offer and such Qualified Bidder intends to consummate the Sale Transaction
                 contemplated by its Qualified Bid if such Qualified Bid is the Winning Bid (or
                 Back-Up Bid, as applicable) with respect to the applicable Acquired Assets, and
                 (3) will serve as Back-Up Bid.

       (vii)     Rejection of Bids. The Debtors, in their reasonable business judgment, in
                 consultation with the Consultation Parties, may reject, at any time before entry of
                 an order of the Court approving a Winning Bid (or Back-Up Bid, as applicable),
                 any Bid that the Debtors determine, after consultation with the Consultation
                 Parties, is (1) inadequate or insufficient, (2) not in conformity with the
                 requirements of the Bankruptcy Code and/or these Bidding Procedures, or (3)
                 contrary to the best interests of the Debtors, their estates, their creditors, and other
                 stakeholders.

11.    DESIGNATION OF A BACK-UP BIDDER.

        If for any reason the Winning Bidder fails to consummate the Qualified Bid within the
time permitted after the entry of the Sale Order approving the Sale to the Winning Bidder, then
the Qualified Bidder or Qualified Bidders with the next-highest or otherwise second-best Bid
(each, a “Back-Up Bidder”), as determined by the Debtors after consultation with the
Consultation Parties, at the conclusion of the Auction and announced at that time to all the
Qualified Bidders participating therein and as set forth in the Sale Order, will automatically be
deemed to have submitted the highest or otherwise best Bid or Bids (each, a “Back-Up Bid”),
and the Debtors will be authorized, but not required, to consummate the transaction pursuant to
the Back-Up Bid as soon as is commercially reasonable without further order of the Bankruptcy
Court upon at least twenty-four hours advance notice, which notice will be filed with the Court;
provided that the forgoing shall not apply to any Potential Bidder that (1) both (a) qualifies as a
Secured Party and (b) submits a Bid that contemplates providing consideration pursuant to
section 363(k) of the Bankruptcy Code; or (2) is expressly exempted from such requirement
pursuant to an applicable Stalking Horse Agreement.

       Upon designation of the Back-Up Bidder at the Auction, the Back-Up Bid must remain
open and irrevocable until the earlier of (1) the closing of the transactions contemplated by the

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Winning Bid notwithstanding any outside date set forth in such Back-Up Bidder’s proposed
purchase agreement or the chapter 11 plan and (2) the date that is four months following the
conclusion of the Auction.

12.    FIDUCIARY OUT.

       Notwithstanding anything to the contrary in these Bidding Procedures or any document
filed with or entered by the Court, nothing in these Bidding Procedures or the Bidding
Procedures Order shall require a Debtor or its board of directors, board of managers, or similar
governing body to take any action or to refrain from taking any action with respect to any Sale
Transaction or these Bidding Procedures solely to the extent such Debtor or governing body
determines in good faith, in consultation with counsel, that taking or failing to take such action,
as applicable, would be inconsistent with applicable law or its fiduciary obligations under
applicable law.

        Further, notwithstanding anything to the contrary in these Bidding Procedures or any
document filed with or entered by the Court, until the entry of the applicable Sale Order, the
Debtors and their respective directors, managers, officers, employees, investment bankers,
attorneys, accountants, consultants, and other advisors or representatives shall have the right to:
(A) consider, respond to, and facilitate alternate proposals for sales or other transactions
involving any or all of the Assets (each, an “Alternate Proposal”); (B) provide access to non-
public information concerning the Debtors to any entity or enter into confidentiality agreements
or nondisclosure agreements with any entity; (C) maintain or continue discussions or
negotiations with respect to Alternate Proposals; (D) otherwise cooperate with, assist, participate
in, or facilitate any inquiries, proposals, discussions, or negotiations of Alternate Proposals; and
(E) enter into or continue discussions or negotiations with any person or entity regarding any
Alternate Proposal.

13.    “AS IS, WHERE IS”.

        Consummation of any Sale Transaction will be on an “as is, where is” basis and without
representations or warranties of any kind, nature, or description by the Debtors or their estates,
except as specifically accepted and agreed to by the Debtors in the executed definitive written
documentation for the applicable Sale Transaction (the “Definitive Sale Documents”). Unless
otherwise specifically accepted and agreed to by the Debtors in Definitive Sale Documents, all of
the Debtors’ right, title, and interest in and to the Assets disposed of in a Sale Transaction will be
transferred to the Winning Bidder (or Back-Up Bidder, as applicable) free and clear of all
pledges, liens, security interests, encumbrances, claims, charges, options, and interests in
accordance with sections 363(f) of the Bankruptcy Code.

        By submitting a Bid, each bidder will be deemed to acknowledge and represent that it
(A) has had an opportunity to conduct adequate due diligence regarding the Debtors and the
proposed Sale Transaction prior to making its Bid, (B) has relied solely on its own independent
review, investigation, and inspection of any document, including executory contracts and
unexpired leases, in making its Bid, and (C) did not rely on or receive from any person or entity
(including any of the Debtors or their advisors or other representatives) any written or oral
statements, representations, promises, warranties, or guaranties whatsoever, whether express,

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implied by operation of law, or otherwise, with respect to the Sale Transaction or the
completeness of any information provided in connection with the Sale Transaction or the
Auction (if any), except as may be set forth in Definitive Sale Documents.

14.    COMMISSIONS.

        The Debtors shall be under no obligation to pay any commissions, fees, or expenses to
any bidder’s agent, advisor, or broker. All commissions, fees, or expenses for any such agents,
advisors, or brokers shall be paid by the applicable bidder at such bidder’s discretion. In no case
shall any commissions, fees, or expenses for any bidder’s agent, advisor, or broker be deducted
from any proceeds derived from any Sale of the Assets. This Section 14 shall not apply to any
Bid Protections that become payable pursuant to the terms of a Stalking Horse Agreement.

15.    RESERVATION OF RIGHTS.

         The Debtors shall be entitled to modify these Bidding Procedures in their reasonable
business judgment in consultation with the Consultation Parties in any manner that will best
promote the goals of these Bidding Procedures, or impose, at or prior to the Auction (if any),
additional customary terms and conditions on a Sale Transaction, including: (A) extending the
deadlines set forth in these Bidding Procedures; (B) adjourning the Auction at the Auction;
(C) adding procedural rules that are reasonably necessary or advisable under the circumstances
for conducting the Auction (if any); (D) canceling the Auction; and (E) rejecting any or all Bids
or Qualified Bids; provided, however, that the Debtors may not amend these Bidding Procedures
or the bidding process to (i) reduce or otherwise modify their obligations to consult with any
Consultation Party without the consent of such Consultation Party or further order of the Court,
(ii) reduce or otherwise modify their obligations to obtain consent from any Consultation Party
pursuant to these Bidding Procedures, the DIP Orders or the DIP Documents, as applicable, or
(iii) provide for any extensions of deadlines, other modifications of the Bidding Procedures or
acceptance of any bid which limit the rights set out in or the protections provided to the DIP
Agent, the DIP Lenders, the Prepetition B-2 Agent, and the Prepetition B-2 Lenders as set forth
in the DIP Orders or the DIP Documents (each as defined in the DIP Motion), or are inconsistent
with the Debtors’ agreements and obligations thereunder, in each case, without the prior written
consent of the Required Lenders (as defined in the DIP Motion). All such modifications and
additional rules will be communicated to each of the Consultation Parties, Potential Bidders, and
Qualified Bidders; provided that, to the extent such modifications occur at the Auction,
disclosure of such modifications is limited to those in attendance at the Auction.

16.    CONSENT TO JURISDICTION.

       All Qualified Bidders at the Auction shall be deemed to have consented to the jurisdiction
of the Court and waived any right to a jury trial in connection with any disputes relating to the
Auction or the construction and enforcement of these Bidding Procedures.

17.    SALE HEARING.

        The Court shall hold a hearing to consider approval of the Winning Bid(s) (and Back-Up
Bid(s), as applicable) and the Sale Transaction(s) contemplated thereby (the “Sale Hearing”).
The Sale Hearing shall be held on October 26, 2023, subject to the availability of the Court.
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The Sale Hearing may be continued to a later date by the Debtors’ sending written notice
to all Qualified Bidders and Consultation Parties prior to, or by making an announcement
at, the Sale Hearing. No further notice of any such continuance will be required to be
provided to any bidder or other party.

18.    RETURN OF DEPOSIT.

        Any Deposits provided by Qualified Bidders shall be held in one or more escrow
accounts on terms acceptable to the Debtors. Any such Deposits will be returned to Qualified
Bidders that are not Winning Bidders (or Back-Up Bidders, as applicable) on the date that is
three business days after the Auction (if any). Any Deposit provided by a Winning Bidder (or
Back-Up Bidder, as applicable) shall be applied to the Purchase Price of the applicable
Sale Transaction at closing.

         If a Winning Bidder (or Back-Up Bidder, as applicable) fails to consummate the Sale
Transaction contemplated by its Winning Bid (or Back-Up Bid, as applicable) because of a
breach by such Winning Bidder (or Back-Up Bidder, as applicable), the Debtors will not have
any obligation to return any Deposit provided by such Winning Bidder (or Back-Up Bidder, as
applicable), which may be retained by the Debtors as liquidated damages, in addition to any and
all rights, remedies, or causes of action that may be available to the Debtors and their estates.




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                       EXHIBIT 2

                      Auction Notice




                            1
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )    Chapter 11
                                                                    )
    YELLOW CORPORATION, et al., 1                                   )    Case No. 23-11069 (___)
                                                                    )
                             Debtors.                               )    (Joint Administration Requested)
                                                                    )

               NOTICE OF AUCTION FOR THE SALE OF THE DEBTORS’ ASSETS

             PLEASE TAKE NOTICE OF THE FOLLOWING:

         On [●], 2023, the United States Bankruptcy Court for the District of Delaware (the “Court”) entered
the Order (I)(A) Approving the Bidding Procedures For the Sale or Sales of the Debtors’ Assets, (B)
Scheduling an Auction and Approving the Form and Manner of Notice Thereof; (C) Scheduling a Sale
Hearing and Approving the Form and Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors’
Assets Free and Clear of Liens, Claims, Interests and Encumbrances and (B) Approving the Assumption
and Assignment of Executory Contracts and Unexpired Leases; and (VI) Granting Related Relief [Docket
                         2
No. [●]] (the “Order”), authorizing the above-captioned debtors and debtors in possession (collectively,
the “Debtors”) to market and conduct an auction (the “Auction”) to sell the Assets. The Auction will be
governed by the bidding procedures approved pursuant to the Order and attached to the Order as Exhibit 1
thereto (the “Bidding Procedures”).

Copies of the Order, the Bidding Procedures, or other documents related thereto are available upon visiting
the Debtors’ restructuring website at https://dm.epiq11.com/YellowCorporation.

        Any person or entity who wishes to participate in the Auction must comply with the participation
requirements, bid requirements, and other requirements set forth in the Bidding Procedures. The IOI
Deadline is August 24, 2023, at 5:00 p.m. (prevailing Eastern Time). The Bid Deadline is October 15,
2023, at 5:00 p.m. (prevailing Eastern Time).

         The Debtors intend to conduct one or more Auctions at which they will consider Bids submitted to
the Debtors and their advisors, by and pursuant to the Bidding Procedures as set forth in the Order. With
respect to any or all other Assets, the Debtors intend to conduct the Auction on October 18, 2023, at [●]
(prevailing Eastern Time), by videoconference or such other form of remote communication established
by the Debtors.

       The Debtors reserve the right to modify the Bidding Procedures, in their reasonable business
judgment in accordance with the Bidding Procedures.


1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue,
      Overland Park, Kansas 66211.
2     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Order or the
      Bidding Procedures, as applicable.
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                       EXHIBIT 3

                Notice of Winning Bidder




                           1
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    )
    In re:                                                          )     Chapter 11
                                                                    )
    YELLOW CORPORATION, et al., 1                                   )     Case No. 23-11069 (___)
                                                                    )
                             Debtors.                               )     (Joint Administration Requested)
                                                                    )

                         NOTICE OF WINNING BIDDER AND
               BACK-UP BIDDER FOR CERTAIN OF THE DEBTORS’ ASSETS

PLEASE TAKE NOTICE OF THE FOLLOWING:

       On [●], 2023, United States Bankruptcy Court for the District of Delaware (the “Court”)
entered the Order (I)(A) Approving the Bidding Procedures For the Sale or Sales of the Debtors’ Assets,
(B) Scheduling an Auction and Approving the Form and Manner of Notice Thereof; (C) Scheduling a Sale
Hearing and Approving the Form and Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors’
Assets Free and Clear of Liens, Claims, Interests and Encumbrances and (B) Approving the Assumption
and Assignment of Executory Contracts and Unexpired Leases; and (VI) Granting Related Relief [Docket
No. [●]] (the “Order”), 2 by which the Court approved procedures setting forth the process by
which the Debtors are authorized to conduct a marketing and auction process for the sale
(the “Sale”) of certain of the Debtors’ assets (the “Assets”) through one or more transactions
(a “Sale Transaction”).

       On [●], at [●] [a/p].m. (prevailing Eastern Time), pursuant to the Order, the Debtors
conducted the Auction with respect to certain Assets by videoconference or such other form of
remote communication established by the Debtors.

        At the conclusion of the Auction, the Debtors, in consultation with the Consultation Parties,
selected the following Winning Bidder and Back-Up Bidder with respect to the Assets.

    Asset(s)           Winning              Back-Up Bidder              Proposed         Bid Key Terms of
                       Bidder                                           Protections          Proposed Sale




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue,
      Overland Park, Kansas 66211.
2
      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Order or the
      Motion, as applicable.
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        The Sale Hearing to consider approval of the Sale of the Assets to the Winning Bidder(s)
at the Auction will be held before the Honorable [●], at the Court, [●], on [●], 2023, at [●] [a/p].m.
(prevailing Eastern Time).

        At the Sale Hearing, the Debtors will seek the Court’s approval of the Winning Bid(s) and
Back-Up Bid(s) (if any). Unless the Court orders otherwise, the Sale Hearing shall be an
evidentiary hearing on matters relating to the Sale, and there will be no further bidding at the Sale
Hearing. If a Winning Bidder cannot or refuses to consummate the applicable Sale following entry
of a Sale Order because of the breach or failure on the part of the Winning Bidder, the Back-Up
Bidder (if any) will be deemed the new Winning Bidder and the Debtors shall be authorized, but
not required, to close with such Back-Up Bidder on the Back-Up Bid without further order of the
Court.

        This notice is subject to the terms and conditions of the Motion and the Order, with such
Order controlling in the event of any conflict, and the Debtors encourage parties in interest to
review such documents in their entirety. Parties interested in receiving more information regarding
the sale or other disposition of the Assets may make a written request to Epiq Corporate
Restructuring, LLC (“Epiq”) (the notice and claims agent retained in these chapter 11 cases) by
calling (866)-641-1076.

        Copies of the Motion, the Order, this notice, and any other related documents are available:
(a) upon request to Epiq by calling (866)-641-1076; (b) by visiting the Debtors’ restructuring
website at https://dm.epiq11.com/YellowCorporation; or (c) for a fee via PACER by visiting
https://pacer.uscourts.gov.




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                       EXHIBIT 4

                       Cure Notice




                           2
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                         )
    In re:                               )  Chapter 11
                                         )
    YELLOW CORPORATION, et al., 1        )  Case No. 23-11069 (___)
                                         )
                    Debtors.             )  (Joint Administration Requested)
                                         )
                   NOTICE OF POTENTIAL ASSUMPTION OR
        ASSUMPTION AND ASSIGNMENT OF CERTAIN CONTRACTS OR LEASES

          PLEASE TAKE NOTICE OF THE FOLLOWING:

       On [●], 2023, United States Bankruptcy Court for the District of Delaware (the “Court”)
entered the Order (I)(A) Approving the Bidding Procedures For the Sale or Sales of the Debtors’ Assets,
(B) Scheduling an Auction and Approving the Form and Manner of Notice Thereof; (C) Scheduling a Sale
Hearing and Approving the Form and Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors’
Assets Free and Clear of Liens, Claims, Interests and Encumbrances and (B) Approving the Assumption
and Assignment of Executory Contracts and Unexpired Leases; and (VI) Granting Related Relief [Docket
No. [●]] (the “Order”), 2 by which the Court approved procedures for the assumption or assumption
and assignment of executory contracts and unexpired leases and granted related relief, as set forth
in the Order.

       Pursuant to the Order and by this notice (this “Cure Notice”), the Debtors hereby notify
you that they have determined, in the exercise of their reasonable business judgment, that each
executory contract or unexpired lease set forth on Schedule 1 attached hereto (the “Potential
Assumption List”) may be assumed (and, if applicable, assigned) effective as of the date
(the “Assumption Date”) set forth in Schedule 1 or such other date as the Debtors and the
counterparty or counterparties to such executory contracts or unexpired leases may agree.

        The Debtors believe that the party to which each applicable executory contract or unexpired
lease may be assigned has the financial wherewithal to meet all future obligations under such
contract or lease and the Debtors will, at the request of the applicable counterparty, use
commercially reasonable efforts to provide evidence thereof to such applicable counterparty
(and their counsel, if known) thereby demonstrating that the assignee of the contract or lease has
the ability to comply with the requirements of adequate assurance of future performance.



1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of Debtors’
      principal place of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue,
      Overland Park, Kansas 66211.
2
      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Order or the
      Motion, as applicable.
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        Parties objecting to the proposed assumption and assignment (including a Winning
Bidder’s proposed form of adequate assurance of future performance) must file and serve a written
objection (each, a “Cure Objection”) so that such objection is filed with the Court and actually
received by the following parties no later than October 23, 2023, at 5:00 p.m. (prevailing
Eastern Time) with respect to the Auction for the Bids (the “Cure Objection Deadline”): (a)
proposed counsel to the Debtors (i) Kirkland & Ellis LLP, 300 North LaSalle, Chicago, Illinois,
60654, Attn.: Patrick J. Nash Jr., P.C. (patrick.nash@kirkland.com), David Seligman P.C.
(david.seligman@kirkland.com) Steve Toth (steve.toth@kirkland.com); and Whitney Fogelberg
(whitney.fogelberg@kirkland.com) and (ii) Kirkland & Ellis LLP, 601 Lexington Avenue, New
York, New York 10022, Attn.: Allyson B. Smith (allyson.smith@kirkland.com); (b) Pachulski
Stang Ziehl & Jones LLP, 919 North Market Street, 17th Floor, PO Box 8705, Wilmington,
Delaware 19801, Attn: Laura Davis Jones (ljones@pszjlaw.com), Timothy P. Cairns
(tcairns@pszjlaw.com), Peter J. Keane (pkeane@pszjlaw.com), and Edward Corma
(ecorma@pszjlaw.com); (c) the United States Trustee, 844 King Street, Suite 2207, Lockbox 35,
Wilmington, Delaware 19801, Attn.: Jane Leamy (jane.m.leamy@usdoj.gov); (d) proposed
counsel to the DIP Lenders, Milbank LLP, 55 Hudson Yards, New York, NY 10001, Attn.: Dennis
F. Dunne (DDunne@milbank.com) and Matthew L. Brod (MBrod@milbank.com).

       Absent a Cure Objection being timely filed, the assumption of each executory contract or
unexpired lease may become effective on the Assumption Date set forth in Schedule 1, or such
other date as the Debtors and the counterparty or counterparties to such executory contract or
unexpired lease may agree.

        If an objection is timely filed and not withdrawn or resolved, such objection will be heard
at the Sale Hearing or such other date and time as agreed to by the Debtors and the objecting party
or ordered by the Court. If such objection is overruled or withdrawn, the applicable executory
contract or unexpired lease shall be assumed as of the Assumption Date set forth in Schedule 1 or
such other date as the Debtors and the counterparty or counterparties to such executory contract
unexpired lease may agree.




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                       Schedule I

                Potential Assumption List




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